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     J.C., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Child: J.L.C.,  and  Concerning J.C., III. No. 25SC126Supreme Court of Colorado, En BancApril 14, 2025
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      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA935
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    